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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                           :    CRIMINAL NO. 21-_______
                                                    :
               v.                                   :
                                                    :    MAGISTRATE NO. 21-MJ-178
 JEFFREY GRACE,                                     :
                                                    :
                     Defendant                      :    VIOLATIONS:
                                                    :
                                                    :    18 U.S.C. § 1752(a)(1)
                                                    :    (Entering and Remaining in a
                                                    :    Restricted Building or Grounds)
                                                    :    18 U.S.C. § 1752(a)(2)
                                                    :    (Disorderly and Disruptive Conduct in
                                                    :    a Restricted Building or Grounds)
                                                    :    40 U.S.C. § 5104(e)(2)(D)
                                                    :    (Disorderly Conduct in
                                                    :    a Capitol Building)
                                                    :    40 U.S.C. § 5104(e)(2)(G)
                                                    :    (Parading, Demonstrating, or Picketing
                                                    :    in a Capitol Building)
                                                    :
                                                    :

                                        INFORMATION

         The United States Attorney charges that:

                                          COUNT ONE

         On or about January 6, 2021, within the District of Columbia, JEFFREY GRACE did

unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President and Vice President-elect were temporarily visiting, without lawful authority to

do so.

         (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
         United States Code, Section 1752(a)(1))
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                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, JEFFREY GRACE did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President and Vice President-

elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, within the District of Columbia, JEFFREY GRACE

willfully and knowingly engaged in disorderly and disruptive conduct within the United States

Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb

the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct

in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))

                                         COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, JEFFREY willfully and

knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))




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                                    CHANNING D. PHILLIPS
                                    ACTING UNITED STATES ATTORNEY
                                    D.C. Bar No. 415793


                                    By: /s/ Mona Sedky
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April 12, 2021




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